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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY E. LEWEN                                   :
                                                 : Civil Action No. 1:17-cv-148-SPB
                           Plaintiff,            :
                                                 :
               v.                                :
                                                 : Judge Susan Paradise Baxter
PENNSYLVANIA SOLDIERS’ AND                       :
SAILORS’ HOME (PSSH), BARBARA                    :
RAYMOND, PENNSYLVANIA                            :
DEPARTMENT OF MILITARY AND                       :
VETERANS AFFAIRS, BRIGADIER                      :
GENERAL ANTHONY CARRELLI,                        :
PENNSYLVANIA STATE CIVIL SERVICE                 :
COMMISSION, CHAIRMAN BRYAN R.                    :
LENTZ, COMMISSSIONER ODELFA                      :
SMITH PRESTON AND COMMISSIONER                   :
GREGORY M. LANE,                                 :
                                                 :
                           Defendants.           :

                            MOTION FOR EXTENSION OF TIME


       AND NOW, comes Defendant Raymond, and moves this Honorable Court for an

extension of time to submit her Motion for Summary Judgment based on the following:

       1. This case arises from Plaintiff’s termination from her employment with Pennsylvania

Soldiers and Sailors Home (PASSH), and her efforts to contest that termination through the civil

service procedures available to her. Plaintiffs’ Second Amended Complaint (SAC) (ECF 31)

contains the operative factual assertions.

       2. Following the Defendants’ submission of a 12(b)(6) motion, and Plaintiff’s responses

thereto, the Court granted in part and denied in part the motion, holding that Plaintiff could

proceed with a claim for retaliation and freedom of speech against Defendant Raymond.

       3. The parties engaged in discovery and Plaintiff’s deposition was conducted.




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       4. Presently, Defendants’ motion for summary judgment is due on March 6, 2020.

       5. Due to out of office depositions and court appearances, as well as upcoming

personnel changes, undersigned counsel, regrettably, is unable to comply with this deadline.

       6. As such, it is respectfully requested that the Court grant an extension of 45 days in

which to file a dispositive motion on behalf of Defendant Raymond.

       7. It is not believe that this request for extension will be prejudicial to the Plaintiff.



       WHEREFORE, Defendant Raymond requests an extension of time to submit the

dispositive Motion, supporting documents, and any appropriate responses and replies which may

be necessary.



                                                       Respectfully submitted,

                                                       JOSH SHAPIRO
                                                       Attorney General

                                               By:   /s/ Yana L. Warshafsky
                                                     Yana L. Warshafsky
                                                     Deputy Attorney General
                                                     Attorney ID: 312915

Office of Attorney General                           KAREN M. ROMANO
1251 Waterfront Place, Mezzanine Level               Chief Deputy Attorney General
Pittsburgh, PA 15222                                 Civil Litigation Section

Date: March 5, 2020                                  Counsel for Defendants




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the within MOTION FOR EXTENSION

OF TIME was electronically filed with the Court and served upon the following by first class

mail:


Nancy E. Lewen
150 Chad Brown St
Providence, RI 02908
                                                          /s/ Yana L. Warshafsky
                                                          Yana L. Warshafsky
                                                          Deputy Attorney General


Office of Attorney General
1251 Waterfront Place, Mezzanine Level
Pittsburgh, PA 15222


Date: March 5, 2020




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